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                                                     THE HONORABLE JOHN C. COUGHENOUR
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                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
 9          SIRENA STYLES,                                   CASE NO. C20-0541-JCC
10                                Plaintiff,
                                                             MINUTE ORDER
11                 v.

12          MACY’S WEST STORES, INC.,
13                                Defendant.
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16          The following Minute Order is made by direction of the Court, the Honorable John C.
17 Coughenour, United States District Judge:

18          This matter comes before the Court on the parties’ stipulated motion for a stay. (Dkt. No.
19 19.) Pursuant to the stipulation, IT IS SO ORDERED that this proceeding is stayed pending

20 arbitration. All scheduling dates and deadlines are hereby stricken. The parties are hereby

21 ORDERED to advise the Court at the conclusion of the arbitration if the case may be dismissed

22 or if further proceedings are requested.

23          DATED this 16th day of October 2020.
24                                                         William M. McCool
                                                           Clerk of Court
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26                                                         s/Tomas Hernandez
                                                           Deputy Clerk


     MINUTE ORDER, C20-0541-JCC
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